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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          ) CR. NO. 2:21cr-00049-MHT-JTA
                                            )
WILLIAM LEE HOLLADAY, III,                  )
                                            )
       Defendant.                           )


                         NOTICE OF INTENT TO CHANGE PLEA

       COMES NOW Defendant, William Lee Holladay, III, by and through undersigned

counsel, and hereby notifies this Court of the Defendant’s intent to change his plea of NOT

GUILTY to a plea of GUILTY to Count 1: 18 U.S.C. § 371 – Conspiracy.

       Respectfully submitted.


                                            /s/ William M. Espy
                                            William M. Espy (ASB-0707-A41E)
                                            One of the Attorneys for Defendant
                                            WILLIAM LEE HOLLADAY, III

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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to all counsel of record on
this the 7th day of December, 2021.



                                              /s/ William M. Espy
                                              Of Counsel

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